Case 17-12870 Doc 98 Filed 01/21/21 Entered 01/21/21 16:25:12 Main Document Page 1 of 8




                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF LOUISIANA

   IN RE:                              )                Chapter 7
                                       )
   REILLY-BENTON COMPANY, INC.         )                Case No. 17-12870 (JAB)
                                       )
   DEBTORS                             )                Section B
   ____________________________________)

                          SUPPLEMENTAL BRIEF REGARDING
                        THE NEED FOR ADVERSARY PROCEEDINGS

          NOW INTO COURT, through undersigned counsel, come The Roussel & Clement

   Creditors1, who respectfully submit this Supplemental Brief Regarding the Need for Adversary

   Proceedings.

          1.      At the status conference held on January 11, 2021, the Court gave the parties an

   opportunity to provide supplemental briefing on the issue regarding whether the motions

   regarding the Century Parties’2 and the Louisiana Insurance Guaranty Association (“LIGA”) may

   be filed as contested matters or must proceed as adversary proceedings. On January 21, 2021, the
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            The firm of Roussel & Clement represents various plaintiffs who have filed claims
   against Reilly-Benton Company, Inc., including the following: Mary Patsy Soileau Courville,
   Mavis Todd Courville, Michael Wade Courville, and Joseph Eric Courville (surviving spouse
   and children of Nelcome J. Courville, Jr.); Joseph Alfred Hedges, Jr. and Renee Hedges Blum,
   individually and as agents and mandataries for Joseph Alfred Hedges, Sr. (surviving spouse and
   children of Geraldine Hedges); Bonnie Tregre Loupe, Lee Ann Tregre Cortez, and Sherry Tregre
   Cortez (surviving children of Nell Tregre (aka Marie Nell Tregre)); Frank James Brazan, Pennie
   Ann Brazan Kliebert, Shane Anthony Brazan, Jason Joseph Brazan, and Carmel Theresa Brazan
   Bourg (surviving children of Joseph Brazan); Dale J. Savoie, Marcia Savoie Medlin, Craig M.
   Savoie, Tania Savoie Alexander, Rodney A. Savoie, and Greta Savoie Boudoin (surviving
   children of Joseph Blaine Savoie, Jr.) and Lorita Savoie (surviving spouse at the time of Joseph
   Savoie, Jr.’s death but who died during the pendency of the case); Sandra Vicknair Melancon and
   Lynn M. Melancon (surviving spouse and child of Tyrone P. Melancon)
           2
            Century Parties include (1) Century Indemnity Company, as successor to CCI Insurance
   Company, successor to Insurance Company of North America and (2) Pacific Employers
   Insurance Company.

                                                  -1-
Case 17-12870 Doc 98 Filed 01/21/21 Entered 01/21/21 16:25:12 Main Document Page 2 of 8




   Landry & Swarr Creditors filed a Supplemental Brief Regarding The Need for Adversary

   Proceedings in Connection With Motions For Third Party Releases and Injunctive Relief Filed

   by The Trustee.3 To avoid duplicative arguments and briefing before the Court, the Roussel &

   Clement Creditors hereby adopt as if copied herein in extenso, the arguments made by the Landry

   & Swarr Creditors as to why an adversary proceeding is necessary.

          2.      In addition to the arguments and briefing by the Landry and Swarr Creditors, the

   Roussel & Clement Creditors provide additional background on the issues before this Court.

   Reilly-Benton Company, Inc. (“Reilly-Benton”) filed its Voluntary Petition for Bankruptcy on

   October 25, 2017. Prior to its bankruptcy, Reilly-Benton had been named as a defendant in

   asbestos litigation for its sale of asbestos products as well as its performance of asbestos

   insulation contracting activities. Additionally, in some of the cases, Reilly-Benton’s insurers

   were named as defendants pursuant to the Louisiana Direct Action Statute (La. R.S. 22:1269).

   Reilly-Benton is an inactive company, and the motions regarding the Century Parties and LIGA

   are an attempt to cap liability where no cap exists under the language of the insurance policies

   that were issued to Reilly-Benton. The proposed motions seek an order that would be contrary to

   bankruptcy law, would violate Louisiana law, would strip vested rights of creditors and claimants

   of Reilly-Benton, would grossly undervalue the proceeds of the Century policies as well as

   LIGA’s liability, and would promote fraud among insurers and their insureds, wherein insurers

   and insureds could enter into post-accident agreements seeking to enjoin claims and/or capping

   potential liability after accidents occur where there exists no bar or cap under the actual language


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                                                    -2-
Case 17-12870 Doc 98 Filed 01/21/21 Entered 01/21/21 16:25:12 Main Document Page 3 of 8




   of the policy at the time of the accident.

          3.      Unfortunately, the Century Parties and LIGA are not the first insurers of Reilly-

   Benton that have attempted to enjoin claims and/or cap liability where no cap or bar exists.

   Liberty Mutual Insurance Company (“Liberty Mutual”), another Reilly-Benton insurer, was the

   first Reilly-Benton insurer to ask a court to hold a Settlement Agreement between an insurer and

   insured binding against injured victims who were not parties to the agreement. In a matter

   pending in the Civil District Court for the Parish of Orleans, Liberty Mutual filed a motion

   similar to the motions regarding the Century Parties and LIGA in the Courville matter requesting

   that an injured tort victim’s claims direct action claims against it be dismissed since it had

   entered into a post-accident settlement agreement with Reilly-Benton, wherein the insurer sought

   to bar future claims. On May 27, 2020, the Louisiana Fourth Circuit rendered a decision,

   wherein Liberty Mutual was seeking to do what the Century Parties and LIGA are seeking to do

   here.4 The Louisiana Fourth Circuit held that it was inappropriate under Louisiana law to hold a

   settlement binding against third parties to that settlement.5 This was in accord with other

   decisions by the Louisiana Fourth Circuit and Louisiana Supreme Court.6

          4.      Obviously aware of the Louisiana Fourth Circuit’s ruling in Courville regarding

   Liberty Mutual, Reilly-Benton other insurers, the Century Parties and LIGA, raced to this Court

   in hopes of circumventing the Louisiana Fourth Circuit’s ruling rejecting these sort of settlement


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             Courville v. Lamorak Ins. Co., 2020-0073 (La.App. 4 Cir. 05/27/20), 301 So.3d 557, writ
   denied, 20-791 (La. 10/14/20), 302 So.3d 1121.
           5
             Id.
           6
             Washington v. Savoie, 634 So.2d 1176 (La. 1994); Long v. Eagle, Inc., 14-889 (La. App.
   4 Cir. 2/25/15), 158 So.3d 968;

                                                    -3-
Case 17-12870 Doc 98 Filed 01/21/21 Entered 01/21/21 16:25:12 Main Document Page 4 of 8




   agreements from affecting the rights of third-party tort victims. In fact, it appears that although

   Liberty Mutual has not yet done so in this Court, Liberty Mutual is preparing to seek similar

   relief as the Century Parties and LIGA since it could not get the relief it was a seeking in state

   court, which was to bar or cap its liability when its policies did not provide such a cap. The

   Special Counsel for the Chapter 7 Trustee, David V. Adler, in the Reilly-Benton Company, Inc.

   Chapter 7 Bankruptcy has recently forwarded correspondence to counsel representing tort

   victims of Reilly-Benton demanding that they halt their direct action claims against Liberty

   Mutual Insurance Company since Reilly-Benton has filed for bankruptcy even though the

   Louisiana appellate court has held that plaintiffs could proceed with their claims Reilly-Benton’s

   insurer. Despite the fact that Reilly-Benton filed for bankruptcy in 2017, these demands are now

   only recently being sent since the Louisiana courts have made clear that such agreements are not

   binding on injured victims. These letters are being sent even though the Louisiana Direct Action

   Statute specifically allows tort victims to pursue insurers when the insured has filed for

   bankruptcy. La. R.S. 22:1269(B)(1). That Louisiana claimants may proceed against the insurer

   of a bankrupt insured reflects the fact that under Louisiana law injured parties have a substantive

   right to sue the insurance company on a tortfeasors’ insurance policy as a third party beneficiary

   to the insurance contract.7 These sort of tactics just highlight the true motives behind the entire

   Reilly-Benton bankruptcy as well as the motions filed by The Century Parties and LIGA.

          5.      Moreover, it is important to point out that Liberty Mutual did not stop at litigating


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           Leviere v. Williams, 2002-1816 (La.App. 4 Cir. 1/17/03), 844 So.2d 32, 36, writ denied,
   2003-1149 (La. 6/20/03), 847 So.2d 1236; see also Sturcke v. Clark, 261 So.2d 717 (La.App. 4
   Cir. 1971), writ denied, 263 So.2d 46-47, 49 (La. 1972).

                                                    -4-
Case 17-12870 Doc 98 Filed 01/21/21 Entered 01/21/21 16:25:12 Main Document Page 5 of 8




   the issue before state courts. Prior to the state court rulings on the validity of its agreement with

   Reilly-Benton, in an attempt to direct the forum that would decide this issue, Liberty Mutual filed

   a declaratory action in the United States Eastern District of Louisiana against several tort victims

   that had filed claims against Liberty Mutual, as an insurer of Reilly-Benton, pursuant to the

   Louisiana Direct Action Statue. One of those claimants was the Courville plaintiffs referenced

   supra. The Declaratory Defendants (i.e. the claimants) filed a Rule 12(b) motion to dismiss

   Liberty Mutual’s declaratory action, which the Honorable Wendy Vitter granted, finding that

   abstention applied.8 Now that Liberty Mutual has lost this issue both in state court and before

   Judge Vitter on the declaratory action, it is expected that it will approach this Court for a third

   attempt to block valid claims by injured tort victims.

          6.      It is submitted that the entire Reilly-Benton bankruptcy has been filed for the sole

   purpose of facilitating these sort of agreements among the insurers to cap liability when no such

   cap exists, especially in cases where Reilly-Benton’s contracting activities caused the injury. As

   noted above, Reilly-Benton Company, Inc. filed its Voluntary Petition for Bankruptcy on October

   25, 2017. Since that time seemingly no actual progress had been made in litigating the matter to

   conclusion. Instead, on July 2, 2020, (after the May 27, 2020, decision by the Louisiana Fourth

   Circuit in Courville stating such agreements were not valid as to injured victims), the Trustee

   filed the pending motion seeking an order approving a settlement agreement between the Chapter

   7 Trustee for Reilly-Benton Company, Inc. and LIGA. Thereafter, The Century Parties filed a

   similar motion.


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           Liberty Mutual Ins. Co. v. Boullion, 2020 U.S. Dist. LEXIS 37261 (E.D. La. 3/4/20)

                                                    -5-
Case 17-12870 Doc 98 Filed 01/21/21 Entered 01/21/21 16:25:12 Main Document Page 6 of 8




          7.      Accordingly, the Roussel & Clement Creditors seek the opportunity to properly

   defend against the extraordinary relief that is being sought by the Trustee as well as Reilly-

   Benton’s insurer through the litigation of an adversary proceeding.


                                                          Respectfully submitted,

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                                                    -6-
Case 17-12870 Doc 98 Filed 01/21/21 Entered 01/21/21 16:25:12 Main Document Page 7 of 8




                                   CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing Supplemental Brief Regarding the Need for

   Adversary Proceedings was filed electronically on January 21, 2021, resulting in service via the

   Court’s CM/ECF system as follows:


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                                                  -7-
Case 17-12870 Doc 98 Filed 01/21/21 Entered 01/21/21 16:25:12 Main Document Page 8 of 8




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                                                -8-
